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8                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
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11   PANAGIOTIS THEODOROPOULOS,                   Case No. 2:19-cv-00417-JGB (KES)
12                Plaintiff,
13          v.                                  ORDER ACCEPTING REPORT AND
                                                  RECOMMENDATION OF U.S.
14   COUNTY OF LOS ANGELES, et al.,                  MAGISTRATE JUDGE
15                Defendants.
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17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the pleadings and all the
18   records and files herein, along with the Report and Recommendation of the United
19   States Magistrate Judge. Further, the Court has engaged in a de novo review of
20   those portions of the Report and Recommendation to which objections have been
21   made. The Court accepts the findings, conclusions, and recommendations of the
22   United States Magistrate Judge.
23         IT IS THEREFORE ORDERED that (1) Defendants’ Motion to Dismiss the
24   Third Amended Complaint (Dkt. 115) is granted; and (2) Judgment be entered
25   dismissing the entire action with prejudice and without leave to amend.
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     DATED:      October 20, 2020          ____________________________________
27                                         JESUS G. BERNAL
28                                         UNITED STATES DISTRICT JUDGE
